
The People of the State of New 
	York, Respondent,&nbsp; 
againstRobert Blandino, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Anthony J. Ferrara, J.), rendered October 28, 2011, after a jury trial, convicting him of assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Anthony J. Ferrara, J.), rendered October 28, 2011, affirmed.
The verdict convicting defendant of assault in the third degree (see Penal Law § 120.00[1]) was supported by legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]), which showed that defendant repeatedly punched the victim and then struck him in the face with a fork, causing intense pain and bleeding, and resulting in a gash on the victim's nose that required stitches. The jury resolved the conflicting testimony and there is no basis for disturbing its determinations (see People v Gaimari, 176 NY 84, 94 [1903]). Evidence properly credited by the jury disproved defendant's justification defense beyond a reasonable doubt.
By making generalized objections or an objection on a different ground from those raised on appeal, defendant has failed to preserve (see People v Miller, 89 NY2d 1077, 1079 [1997]) his challenge to the prosecutor's cross-examination of a defense witness about her failure to come forward with exculpatory evidence (see People v Dawson, 50 NY2d 311 [1980]), and we decline to review this claim in the interest of justice. Were we to review it, we would find that the prosecutor laid a proper foundation for such inquiry (see People v Miller, 89 NY2d at 1079-1080; People v Dawson, 50 NY2d at 321-322). In any event, we find any perceived error regarding the prosecutor's cross-examination to be harmless (see People v Crimmins, 36 NY2d 230 [1975]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 22, 2017










